Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                          Document     Page 1 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                          Document     Page 2 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                          Document     Page 3 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                          Document     Page 4 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                          Document     Page 5 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                          Document     Page 6 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                          Document     Page 7 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                          Document     Page 8 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                          Document     Page 9 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 10 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 11 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 12 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 13 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 14 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 15 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 16 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 17 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 18 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 19 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 20 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 21 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 22 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 23 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 24 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 25 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 26 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 27 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 28 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 29 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 30 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 31 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 32 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 33 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 34 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 35 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 36 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 37 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 38 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 39 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 40 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 41 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 42 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 43 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 44 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 45 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 46 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 47 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 48 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 49 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 50 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 51 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 52 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 53 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 54 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 55 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 56 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 57 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 58 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 59 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 60 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 61 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 62 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 63 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 64 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 65 of 66
Case 20-00630   Doc 1   Filed 01/09/20 Entered 01/09/20 11:30:53   Desc Main
                         Document     Page 66 of 66
